          Case 2:20-cv-00750-RDP Document 112 Filed 01/24/22 Page 1 of 4                                 FILED
                                                                                                2022 Jan-24 PM 02:12
                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

    DANIELLE THREADFORD and
    WILLIAM HOLMES, on behalf of the
    McKinney Communications Corporation
    Employee Stock Ownership Plan, and on
    behalf of a class of all other persons
    similarly situated,
                                                      Case No. 2:20-cv-750-RDP
                        Plaintiffs,
                                                      Joint Motion
    v.

    HORIZON TRUST AND INVESTMENT
    MANAGEMENT, N.A.,
    RODDY McKINNEY, and
    JANICE McKINNEY,

                        Defendants.


                                  JOINT MOTION TO STAY

         Plaintiffs Danielle Threadford and William Holmes, Defendant Horizon Trust,1 and

Defendants Roddy and Janice McKinney (collectively, the “Parties”), by and through their

undersigned counsel, respectfully request that the Court stay discovery and all pending deadlines

for a period of 60 days to allow the Parties to attempt to resolve the action using a private

mediator. In support of this motion, the Parties state as follows:

         1.     The Court held a scheduling conference on December 15, 2021, (Doc. 103), at

which the Court encouraged the Parties to explore avenues for alternate dispute resolution.




1
 “Horizon Trust” is used here as shorthand for Horizon Bank, d/b/a Horizon Trust & Investment
Management. Plaintiffs named as defendant “Horizon Trust and Investment Management, N.A.,”
which does not exist.
                                                  1
         Case 2:20-cv-00750-RDP Document 112 Filed 01/24/22 Page 2 of 4




       2.      Following the scheduling conference, the Court entered a Scheduling Order on

December 16, 2021. (Doc. 106).

       3.      Since then, the Parties exchanged initial disclosures and have been engaged in

document discovery, including third party discovery.

       4.      The Parties believe that, at this point, they have exchanged enough information

that an early mediation may prove productive.

       5.      The Parties have therefore scheduled a mediation for March 21, 2022, with a

private mediator who specializes in disputes arising under the Employee Retirement Income

Security Act of 1974, including disputes involving employee stock ownership plans.

       6.      The Parties respectfully request a stay of discovery and of all currently pending

deadlines set forth in the Court’s Scheduling Order, (Doc. 106) for 60 days, which will allow

them both to conserve resources and to focus their efforts on attempting to resolve the dispute.

In the absence of a stay, the parties will have to incur significant expense on discovery that

would be rendered unnecessary if they reach a settlement agreement.

       7.      In the event that the Parties do not agree to a settlement at the March 21, 2022

mediation, the Parties propose that, at the conclusion of the 60-day stay period, they jointly

submit a revised proposed scheduling order for the Court’s consideration.

       8.      This motion is made in good faith and not for any improper purpose, and there

will be no prejudice to any party if the requested extension of time is granted.

       WHEREFORE, for the reasons stated above, the Parties respectfully request that the

Court enter an order (i) staying discovery and all deadlines set forth in the Scheduling Order,

(Doc. 106), for 60 days, and (ii) ordering the Parties to submit a joint revised scheduling order at




                                                 2
          Case 2:20-cv-00750-RDP Document 112 Filed 01/24/22 Page 3 of 4




the conclusion of the 60 day period, should the mediation fail to result in a settlement of all

claims.

Dated: January 24, 2022                               Respectfully submitted,

JACKSON LEWIS P.C.                                    MAYNARD, COOPER & GALE, P.C.

/s/ Thomas A. Davis                                   /s/ William B. Wahlheim, Jr.
Thomas A. Davis (ASB-5877-S56T)                       William B. Wahlheim, Jr.
Synovus Center                                        2400 Regions/Harbert Plaza
800 Shades Creek Parkway, Suite 870                   1901 6th Avenue North
Birmingham, Alabama 35209                             Birmingham, Alabama 35203
Tel: (205) 332-3101                                   Tel: 205.254.1000
Fax: (205) 332-3131                                   Fax: 205.254.1988
Thomas.Davis@jacksonlewis.com                         wwalheim@maynardcooper.com

Howard Shapiro (pro hac vice)                         GROOM LAW GROUP, CHARTERED
650 Poydras Street, Suite 1900
New Orleans, LA 70130                                 Lars C. Golumbic (pro hac vice)
Tel: (504) 208-1755                                   Sean C. Abouchedid (pro hac vice)
Fax: (504) 208-1759                                   Andrew D. Salek-Raham (pro hac vice)
Howard.Shapiro@jacksonlewis.com                       1701 Pennsylvania Ave., NW
Juan.Obregon@jacksonlewis.com                         Suite 1200
                                                      Washington, DC 20006
Attorneys for and Roddy McKinney and                  Tel: (202)861-6615
Janice McKinney                                       Fax: (202) 659-4503
                                                      LGolumbic@groom.com
                                                      SAbouchedid@groom.com
BAILEY & GLASSER LLP                                  ASalek-Raham@groom.com

/s/ David L. Selby II                                 Attorneys for Horizon Bank d/b/a Horizon
David L. Selby II                                     Trust and Investment Management
3000 Riverchase Galleria
Suite 905
Birmingham, AL 35244
Telephone: (205) 988-9253
Facsimile: (205) 733-4896
dselby@baileyglasser.com

Gregory Y. Porter (pro hac vice)
Ryan T. Jenny (pro hac vice)
1055 Thomas Jefferson Street, NW
Suite 540
Washington, DC 20007
Telephone: (202) 463-2101
Facsimile: (202) 463-2103

                                                  3
         Case 2:20-cv-00750-RDP Document 112 Filed 01/24/22 Page 4 of 4



gporter@baileyglasser.com
rjenny@baileyglasser.com

Patrick O. Muench (pro hac vice)
318 W. Adams, Suite 1606
Chicago, IL 60606
Telephone: (312) 500-8680
Facsimile: (314) 863-5483
pmuench@baileyglasser.com

IZARD KINDALL & RAABE LLP

/s/ Douglas P. Needham
Douglas P. Needham
29 South Main Street, Suite 305
West Hartford, CT 06053
860-493-6292
Fax: 860-493-6290
Email: dneedham@ikrlaw.com

Attorneys for Plaintiffs




                                       4
